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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                   8:06CR376
       vs.                                   )
                                             )                     ORDER
LEONA COLE,                                  )
                                             )
                     Defendant.              )



       This matter is before the court on defendant's unopposed M OTION FOR
ENLARGEMENT OF TIME [45] to file pretrial motions. For good cause shown, I find that the
motion should be granted. The defendant will be given an approximate 30-day extension.
Pretrial Motions shall be filed by February 9, 2007.

       IT IS ORDERED:

      1.      Defendant's MOTION FOR ENLARGEMENT OF TIME [45] is granted.            Pretrial
motions shall be filed on or before February 9, 2007.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between January
10, 2007 and February 9, 2007, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

       DATED this 5th day of January, 2007.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
